      Case:
    Case    25-30088    Document: 34-2
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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                  TEL. 504-310-7700
CLERK                                                       600 S. MAESTRI PLACE,
                                                                    Suite 115
                                                           NEW ORLEANS, LA 70130

                              March 17, 2025


Mr. Michael L. McConnell
Middle District of Louisiana, Baton Rouge
United States District Court
777 Florida Street
Room 139
Baton Rouge, LA 70801

      No. 25-30088     In re: Gary Westcott
                       USDC No. 3:12-CV-796


Dear Mr. McConnell,
Enclosed is a copy of the judgment issued as the mandate.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk



                                  By: _________________________
                                  Mary Frances Yeager, Deputy Clerk
                                  504-310-7686
cc w/encl:
     Mr. Jorge Benjamin Aguinaga
     Ms. Cecelia Trenticosta Kappel
     Ms. Nishi L Kumar
     Ms. Samantha Bosalavage Pourciau
  Case:
Case    25-30088    Document: 34-1
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         United States Court of Appeals
              for the Fifth Circuit                                United States Court of Appeals
                                                                            Fifth Circuit

                                                                          FILED
                                                                    March 17, 2025
                                No. 25-30088                         Lyle W. Cayce
                                                                          Clerk

 In re Gary Westcott, Secretary, Louisiana Department of Public
 Safety and Corrections; Darrel Vannoy, Warden, Louisiana State
 Penitentiary, In His Official Capacity,

                                                                     Petitioners.


                       Petition for a Writ of Mandamus
                     to the United States District Court
                     for the Middle District of Louisiana
                           USDC No. 3:12-CV-796


                        UNPUBLISHED ORDER

 Before Haynes, Ho, and Oldham, Circuit Judges.
 Per Curiam:
      IT IS ORDERED that the petition for writ of mandamus is DENIED
 AS MOOT.
        IT IS FURTHER ORDERED that the request for an
 administrative stay of the District Court’s February 21, 2025 order is
 DENIED.




                                                   A True Copy
                                                   Certified order issued Mar 17, 2025


                                                   Clerk, U.S. Court of Appeals, Fifth Circuit
